

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-75,309-01






SALLY LEESON, Relator


v.


GUADALUPE COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. 08-1476-CR; 08-1474-CR; 08-1475-CR; &amp; 08-1270-CR

IN THE 274TH JUDICIAL DISTRICT COURT FROM GUADALUPE COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, she contends that she filed applications for writs of habeas corpus
in the Judicial District Court of Guadalupe County, that more than 35 days have elapsed, and that
the applications have not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Guadalupe County, is ordered to file a response, which may be made by: submitting the record on
such habeas corpus applications; submitting a copy of a timely filed order which designates issues
to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); or stating that
Relator has not filed an application for habeas corpus in Guadalupe County.  Should the response
include an order designating issues, proof of the date the district attorney's office was served with
the habeas application shall also be submitted with the response. 

	This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response.  Such response shall be submitted within 30 days
of the date of this order.



Filed: February 23, 2011

Do not publish	


